         Case 4:18-cv-00075-HLM Document 9 Filed 04/27/18 Page 1 of 7



                 IN THE UNITED STATES DISTRICT COURT
                   THE NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

CLOUD SPRINGS ROAD PODIATRY,
LLC

       Plaintiff,

v.                                       Case No.: 4:18-cv-00075-HLM


ASA ENGINEERING AND
CONSULTING, INC.



       Defendant.


        ANSWER OF ASA ENGINEERING AND CONSULTING, INC. TO THE
                       FIRST AMENDED COMPLAINT


       Asa Engineering and Consulting, Inc. (“Asa” hereinafter) by

and through counsel answers the First Amended Complaint (the

“Complaint” hereinafter), as follows:

                               FIRST DEFENSE

       The Complaint fails to state a cause of action upon which

relief can be granted.

                              SECOND DEFENSE

     In response to the individually numbered allegations of the

Complaint, Asa states as follows:

       1.   Asa is without sufficient information to admit or deny

the allegations of paragraph 1 of the Complaint.              Accordingly,
        Case 4:18-cv-00075-HLM Document 9 Filed 04/27/18 Page 2 of 7



all such allegations are denied.             Specifically, Asa does not

know   the identity       of the    members of    the plaintiff’s       limited

liability company.

       2.    Asa is without sufficient information to admit or deny

the allegations of paragraph 2 of the Complaint.

       3.    Asa    denies    the   allegations   of    paragraph   3   of   the

Complaint. Asa is a corporation.

       4.    Asa    admits    the   allegations   of    paragraph   4   of   the

Complaint.

       5.    Asa    admits    the   allegations   of    paragraph   5   of   the

Complaint.

       6.    Asa    admits    the   allegations   of    paragraph   6   of   the

Complaint.

       7.    Asa    admits    the   allegations   of    paragraph   7   of   the

Complaint.

       8.    In response to the allegations in paragraph 8, Asa

admits that it sent an email to plaintiff stating that there was

a sewer connection.          Asa also alleges, however, that it provided

the plaintiff with a survey - prior to closing - which stated

plainly, “There appears to be NO Sanitary Sewer available to

this property.       Surveyor was unable to determine the location of

current field lines or septic tank.”

       9.    Asa    admits    the   allegations   of    paragraph   9   of   the

Complaint.         Asa   also alleges,   however,      that it   provided the
      Case 4:18-cv-00075-HLM Document 9 Filed 04/27/18 Page 3 of 7



plaintiff with a survey, prior to closing, which stated “There

appears to     be NO   Sanitary Sewer     available    to this    property.

Surveyor was unable to determine the location of current field

lines or septic tank.”

     10.     Asa is without sufficient information to admit or deny

the allegations of paragraph 10 of the Complaint.

     11.     Asa   denies   the   allegations   of   paragraph   11   of   the

Complaint. Asa admits that the plaintiff closed the purchase of

the property, but it denies that the plaintiff reasonably relied

on any alleged statement or that Asa made a misrepresentation as

a matter of law.

     12.     Asa   denies   the   allegations   of   paragraph   12   of   the

Complaint as stated.

     13.     Asa admits that Chris Davis sent an email as alleged

in paragraph 13 of the Complaint, but at the time, Chris Davis

was a sub-consultant to Asa.

     14.     Asa   denies   the   allegations   of   paragraph   14   of   the

Complaint. The property does in fact have sewer “access”, which

is possible through an alternative design.

     15.     Asa   denies   the   allegations   of   paragraph   15   of   the

Complaint.

     16.     Asa   denies   the   allegations   of   paragraph   16   of   the

Complaint.
      Case 4:18-cv-00075-HLM Document 9 Filed 04/27/18 Page 4 of 7



     17.     Asa   denies   the   allegations    of   paragraph     17    of   the

Complaint.

     18.     Asa   denies   the   allegations    of   paragraph     18    of   the

Complaint.

     19.     Asa   incorporates     its   responses      to   the        previous

allegations.

     20.     In response to the allegations in paragraph 20, Asa

admits that the plaintiff retained Asa to provide engineering

services.      Asa is without sufficient information to admit or

deny the remaining allegations of paragraph 20.

     21.     Asa   denies   the   allegations    in   paragraph     21    of   the

Complaint.

     22.     Asa   denies   the   allegations    of   paragraph     22    of   the

Complaint.

     23.     Asa   denies   the   allegations    of   paragraph     23    of   the

Complaint.

     24.     Asa   denies   the   allegations    of   paragraph     24    of   the

Complaint.

     25.     Asa   incorporates     its   responses      to   the        previous

allegations.

     26.     Asa   admits    that    it   owed    the   plaintiff         certain

professional duties but denies that it breached those duties.

     27.     Asa   denies   the   allegations    of   paragraph     27    of   the

Complaint.
      Case 4:18-cv-00075-HLM Document 9 Filed 04/27/18 Page 5 of 7



     28.     Asa   denies   the   allegations   of   paragraph     28    of   the

Complaint.

     29.     Asa   denies   the   allegations   of   paragraph     29    of   the

Complaint.

     30.     Asa   denies   the   allegations   of   paragraph     30    of   the

Complaint.

     31.     Asa   incorporates     its   responses     to   the        previous

allegations.

     32.     Asa   admits   the   allegations   of   paragraph     32    of   the

Complaint.

     33.     Asa   denies   the   allegations   of   paragraph     33    of   the

Complaint.

     34.     Asa   denies   the   allegations   of   paragraph     34    of   the

Complaint.

     35.     Asa   incorporates     its   responses     to   the        previous

allegations.

     36.     Asa   denies   the   allegations   of   paragraph     36    of   the

Complaint.

     37.     Asa   denies   the   allegations   of   paragraph     37    of   the

Complaint.

     38.     Asa   incorporates     its   responses     to   the        previous

allegations.

     39.     Asa   denies   the   allegations   of   paragraph     39    of   the

Complaint.
         Case 4:18-cv-00075-HLM Document 9 Filed 04/27/18 Page 6 of 7



     40.       Asa     incorporates         its    responses            to   the        previous

allegations.

     41.       Asa    denies      the    allegations          of    paragraph      41    of   the

Complaint.

     42.       All allegations not heretofore admitted or denied are

here and now denied.

     43.       Having       responded        to        the     individually             numbered

allegations of the Complaint, Asa denies that the plaintiff is

entitled to recover any amount whatsoever from Asa.

                                        THIRD DEFENSE

     The    plaintiff’s           claims    are    barred          because   it    failed     to

mitigate its damages.

                                        FOURTH DEFENSE

     The plaintiff’s claims for negligence should be reduced or

barred    in     accordance         with    its    own        comparative       fault.        In

addition, Asa alleges the comparative fault of the person or

entity    that       sold   the    property       to    the    plaintiff.          Any     award

against    Asa       should    be       reduced    or        barred     according        to   the

comparative fault of the seller.

                                        FIFTH DEFENSE

     The    plaintiff’s           claims     are   barred          by   estoppel,        laches,

waiver, illegality, and unclean hands.
      Case 4:18-cv-00075-HLM Document 9 Filed 04/27/18 Page 7 of 7




                           Respectfully submitted,

                           Leitner, Williams, Dooley & Napolitan,
                           PLLC


                           By: s/M. Andrew Pippenger

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                       CERTIFICATE OF SERVICE

     I hereby certify that on April 26, 2018, a copy of the
foregoing pleading was filed electronically to effect service of
this document upon the counsel of record listed below. Notice of
this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing
receipt. Parties may access this filing through the Court’s
electronic filing system.

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